
The People of the State of New York, Respondent,
againstJoel Santana, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (John Cataldo, J.H.O.), rendered December 5, 2012, after a nonjury trial, convicting him of violating New York Administrative Code §10-125(2)(b), and imposing sentence.




Per Curiam.
Judgment of conviction (John Cataldo, J.H.O.), rendered December 5, 2012, reversed, on the law, accusatory instrument dismissed, and fine, if paid, remitted. 
As the People concede, in the absence of any indication in the record that the adjudication of this criminal prosecution by a Judicial Hearing Officer (J.H.O.) was accompanied by the requisite statutory consent or "agreement of the parties" (CPL 350.20[1]), the conviction obtained below lacked an "essential jurisdictional predicate" (People v Holt, 182 Misc 2d 919, 920 [1999], quoting Batista v Delbaum, Inc., 234 AD2d 45, 46 [1996]) and must be vacated (People v Holt at 920). 
Since it does not appear that further proceedings on the single Administrative Code charge here involved would serve any useful penological purpose (see People v Burwell, 53 NY2d 849, 851 [1981]), we dismiss the accusatory instrument, a disposition which the People agree is the appropriate corrective action in this case (cf. People v Conceicao, 26 NY3d 375, n 1 [2015]). In view of the foregoing, we need not consider defendant's remaining argument on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: June 13, 2016










